Case 3:15-cv-01978-PK   Document 1-2   Filed 10/20/15   Page 1 of 6




                   EXHIBIT NO. 1
Case 3:15-cv-01978-PK   Document      1-2 Filed 10/20/15
                         9/22/2015 1:38:43 PM
                                                           Page 2 of 6
                             15CV25206
Case 3:15-cv-01978-PK   Document 1-2   Filed 10/20/15   Page 3 of 6
Case 3:15-cv-01978-PK   Document 1-2   Filed 10/20/15   Page 4 of 6
Case 3:15-cv-01978-PK   Document 1-2   Filed 10/20/15   Page 5 of 6
Case 3:15-cv-01978-PK   Document 1-2   Filed 10/20/15   Page 6 of 6
